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        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO
                            DISTRICT COURT


COMPETENCY HEARING:

District Judge: B. Lynn Winmill               Date: January 18, 2018
Deputy Clerk: Jamie Bracke                    Location: Pocatello
ESR: Jamie Bracke                             Time: 1:35 - 1:47 p.m.



          UNITED STATES OF AMERICA v. DILLON KLAIR McCANDLESS
                          CASE No. 4:17-cr-188-BLW


Counsel for the United States: Jack Haycock
Counsel for Defendant: Steven Richert


Competency hearing held 1/18/2018.

The Court reviewed the case history.

The Court found by a preponderance of the evidence that Mr. McCandless is not presently suffering
from a mental disease or defect rendering him mentally incompetent to the extent that he is unable
to understand the nature and consequences of the proceedings against him or to assist properly in
his defense.

The Court ordered ongoing monitoring of the defendant.

The Jury Trial is set for February 5, 2018 at 1:30 p.m. in Pocatello. The Telephonic Pretrial
Conference is set for January 25, 2018 at 4:00 p.m.
